IN THE UNITED STATES DISTRICT COURT FOR THE
MIDDLE DISTRICT OF PENNSYLVANIA

 

 

EPSILON ENERGY USA,
INC.,
Plaintiff,
Civil Action No. [ ]
v. FILED
HARRISBURG, PA
CHESAPEAKE APPALACHIA, LLC, APR ~9 2021
Defendant. PER 49%
DEPUTY CLERK

MOTION FOR LEAVE TO FILE PORTIONS OF COMPLAINT,
MOTION FOR PRELIMINARY INJUNCTION, MEMORANDUM
IN SUPPORT OF MOTION FOR PRELIMINARY INJUNCTION,
AND EXHIBIT UNDER SEAL
Plaintiff Epsilon Energy USA, Inc. (“Epsilon”), by and through its
undersigned counsel, respectfully moves this Court for leave to file portions of its
Complaint, Motion for Preliminary Injunction, and Memorandum in Support of
Motion for Preliminary Injunction (“Memorandum”) against Defendant Chesapeake
Appalachia, LLC (“CHK”), along with the Settlement Agreement that is attached as
an exhibit to the Complaint and Memorandum, under seal. In support of this motion,
Epsilon refers the Court to its Memorandum in Support filed contemporancously
herewith.

WHEREFORE, for the reasons stated in the accompanying Memorandum in

Support of Motion for Leave to File Portions of Complaint, Motion for Preliminary
Injunction, Memorandum in Support of Motion for Preliminary Injunction, and
Exhibit Under Seal, Epsilon respectfully requests this Court enter an Order granting
it leave to file certain portions of its Complaint, Motion for Preliminary Injunction,
and Memorandum, as well as the Settlement Agreement (attached as an exhibit to

the Complaint and Memorandum), under seal.

Dated: April 9, 2021 Respectfully submitted,

/s/ Gregory J. Krock
Gregory J. Krock

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Elizabeth M. Thomas
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Counsel for Plaintiff
Epsilon Energy USA, Inc.
CERTIFICATE OF SERVICE

The undersigned hereby certifies that a true and correct copy of the foregoing
Motion for Leave to File Portions of Complaint, Motion for Preliminary
Injunction, Memorandum in Support of Motion for Preliminary Injunction,

and Exhibit Under Seal has been served on served upon the following by mail, this

9th day of April 2021:

Corporate Representative
Chesapeake Appalachia, LLC
c/o The Corporation Company

1833 S. Morgan Road
Oklahoma City, OK 73128

/s/_ Gregory J. Krock

 
